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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA ) CRIM. NO. 1:17-CR- \GS

)
Vv. ) Giwee Ag?
) Conndy J.)
JOSE DOMINGUEZ, )
)
Defendant. )

INDICTMENT
THE GRAND JURY CHARGES:
At times material to this Indictment:
INTRODUCTION

1. Defendant Jose Dominguez resided in the Dominican
Republic and was owner of Victor Sinclair Cigars ("Victor Sinclair"), a
cigar manufacturer located in the Dominican Republic.

2. A business known to the grand jury and referred to herein as
"ABC Tobacco Importer" was located in East Stroudsburg,
Pennsylvania, and from on or about 2009 through on or about 2011
imported Victor Sinclair cigars.

3. A person known to the grand jury and referred to herein as

H.C. resided in East Stroudsburg, Pennsylvania, and was co-owner,
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president, and director of "ABC Tobacco Importer." ABC Tobacco
Importer was located in East Stroudsburg, Pennsylvania.

4. A person known to the grand jury and referred to herein as
D.V. resided in East Stroudsburg, Pennsylvania and was co-owner,
treasurer, and secretary of ABC Tobacco Importer.

5. A business known to the grand jury and referred to herein as
"G.L. Customs Broker" was a customs broker based in Chicago, Illinois.
G.L. Customs Broker assisted ABC Tobacco Importer import Victor
Sinclair cigars from the Dominican Republic.

6. A business known to the grand jury and referred to herein as
"Retail Customer 1" was a retail cigar business that obtained Victor
Sinclair cigars through ABC Tobacco Importer.

7. A business known to the grand jury and referred to herein as
"Retail Customer 2" was a retail cigar business that obtained Victor
Sinclair cigars through ABC Tobacco Importer.

8. Beginning in or about January 201 1, and continuing to the
present, a business known to the grand jury and referred to herein as
H.S. Importer was the importer of Victor Sinclair cigars. H.S. Importer

was located in Florida.
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9. From in or about January 2011, through in or about
December 2012, a business known to the grand jury and referred to
herein as "ABC Distributors" of East Stroudsburg, Pennsylvania,
distributed Victor Sinclair cigars.

10. ABC Distributors was owned and operated by H.C. and D.V.

Importation of Large Cigars and Federal Tobacco Excise Tax

11. According to federal laws, a foreign manufacturer like Jose
Dominguez can only sell foreign-manufactured cigars in the United
States to a permitted domestic importer. The permitted domestic
importer, in turn, could sell the cigars domestically to retailers in the
United States.

12. A domestic importer of large cigars was required to have a
tobacco importer permit issued by the Alcohol and Tobacco Tax and
Trade Bureau (TTB).

13. The United States imposed a tax known as a federal excise
tax on large cigars the domestic importer imported into the United

States.
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14. The United States Customs and Border Protection ("United
States Customs") was the federal agency designated to collect federal
excise taxes on imported tobacco products.

15. Federal laws and regulations provided that the importer of
large cigars or its designee, was the party responsible for the payment
of federal excise taxes imposed on the imported large cigars.

16. The excise tax on large cigars was based on "the first sales
price" which was the price for which the importer sold the cigars in the
United States, not the price the importer paid the foreign manufacturer
for the cigar.

17. The federal excise tax rate for large cigars was 52.75 percent
of the first sale price, but not more than 40.26 cents per cigar. 26
U.S.C. § 5701(a)(2).

COUNT 1
18. Paragraphs 1 through 17 above are incorporated herein by

reference.
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THE CONSPIRACY
19. Beginning in or about June 2009, the exact date unknown to
the grand jury, and continuing until in or about December 2012, in the
Middle District of Pennsylvania and elsewhere, the defendant,
JOSE DOMINGUEZ,
and others known and unknown to the grand jury, did conspire to
commit an offense against the United States and to defraud the United
States or an agency thereof in that Jose Dominguez and others known
and unknown attempted to evade and defeat the excise tax imposed on
imported large cigars and the payment of the tax in violation of Title 26,
United States Code, Section 5762(a)(3).
All in violation of Title 18, United States Code, Section 371.
OBJECT OF THE CONSPIRACY
20. The object of the conspiracy was for Jose Dominguez and
others to profit by defrauding the United States of the federal excise
taxes associated with the sale of Victor Sinclair cigars in the United

States.
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MANNER AND MEANS

21. In or about 2009, H.C. and D.V. agreed with Jose Dominguez
and others to import Victor Sinclair cigars manufactured in the
Dominican Republic.

22. Prior to 2009, H.C. and D.V. had not been involved in the
importation of any type of merchandise into the United States, and Jose
Dominguez knew H.C. and D.V. did not have any training, education,
and experience in the importation of tobacco products.

23. In 2009, H.C. and D.V., with the help of another person,
apphed for and received an importer permit for ABC Tobacco Importer.

24. Jose Dominguez told H.C. and D.V. that the two largest
United States purchasers and retailers of Victor Sinclair cigars were
Retail Customer 1 located in Pennsylvania and Retail Customer 2
located in Florida.

25. Jose Dominguez also arranged for G.L. Customs Broker to
assist H.C., D.V., and ABC Tobacco Importer to calculate the excise tax
due for each shipment of cigars. G.L. Customs Broker completed and

submitted Form 7501 to the government. G.L. Customs Broker also
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paid the excise taxes to the government on behalf of ABC Tobacco
Importer.

26. ABC Tobacco Importer executed a power of attorney
authorizing G.L. Customs Broker to sign a certification on each Form
7501 attesting to the truth and accuracy of the contents of the Form
7501.

27. In or about July 2009, ABC Tobacco Importer began
importing Victor Sinclair manufactured cigars.

28. Between on or about July 8, 2009, and through on or about
January 12, 2011, ABC Tobacco Importer imported to the United
States from the Dominican Republic approximately 37 shipments
containing at least 18,500,000 large cigars.

29. In furtherance of the conspiracy, for each shipment of large
cigars, Jose Dominguez sent to G.L. Customs Broker a Commercial
Invoice that contained a fraudulent "first sale price."

30. The first sale price on the Commercial Invoice was
fraudulent because it was a lower price than the true "first sale price"

agreed to by Retail Customer 1 and 2.
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3l. G.L. Customs Broker calculated the federal excise tax based
on the lower fraudulent first sale prices that Jose Dominguez provided
on the Commercial Invoices.

32. Jose Dominguez knew that the Commercial Invoices he
prepared and sent or had prepared and sent on behalf of Victor Sinclair
Cigars to G.L. Customs Broker were used by the customs broker to
calculate the federal excise tax due on each shipment of cigars.

33. For each shipment of Victor Sinclair cigars, G.L. Customs
Broker paid to the United States excise taxes calculated on the Jose
Dominguez’ fraudulent Commercial Invoices.

34. For each shipment of Victor Sinclair cigars, G.L. Customs
Broker also submitted to the United States Customs a Form 7501,
Customs Entry Summary, that included the fraudulent excise tax
amount.

35. On or about the time that Jose Dominguez sent or had sent
on behalf of Victor Sinclair Cigars a fraudulent Commercial Invoice to
G.L. Customs Broker, Jose Dominguez also sent or had sent on behalf
of Victor Sinclair Cigars to ABC Tobacco Importer a Customer Invoice

with the true first sale price.
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36. The first sale price contained in Customer Invoice included
the true price which Retail Customers 1 and 2 had agreed to pay for
the cigars.

37. Furthermore, the Customer Invoices Jose Dominguez also
sent or had sent on behalf of Victor Sinclair Cigars to ABC Tobacco
Importer specifically stated the true excise tax due on each shipment.

38. The amount of the federal excise tax specified on each
Customer Invoice was higher than the excise tax amount G.L. Customs
Broker had calculated from the lower fraudulent sale price on the
Commercial Invoices.

39. Between on or about July 8, 2009, through on or about
January 11, 2011, ABC Tobacco Importer, with the knowledge of Jose
Dominguez, used Jose Dominguez' Customer Invoices to collect from
Retail Customer 1 approximately $2,825,615 in federal excise taxes.

40. Between on or about July 8, 2009, through on or about
January 11, 2011, ABC Tobacco Importer used Jose Dominguez'

Customer Invoices to collect from Retail Customer 2, approximately

$1,096,971 in federal excise taxes.
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41. Between on or about July 8, 2009, through on or about
January 11, 2011, ABC Tobacco Importer collected from Retail
Customers 1 and 2 approximately $3,922,586 in federal excise taxes.

42. Out of the $3,922,586 collected, ABC Tobacco Importer
forwarded to G.L. Customs Broker only approximately $2,115,814.00 for
payment to the United States Customs.

43. In or about January 2011, H.C. and D.V. ceased importing
Victor Sinclair cigars and began distributing Victor Sinclair cigars
through their business, ABC Distributors.

44. Inor about January 2011, H.S. Importer replaced ABC
Importer as the importer of Victor Sinclair cigars.

45. From in or about January 2011, through in or about
December 2012, H.S. Importer, with the assistance of ABC Distributors
and others, collected federal excise taxes from Retail Customers 1 and
2.

46. From in or about January 2011, through in or about
December 2012, H.S. Importer did not pay over to the United States all

excise taxes collected from the sale of Victor Sinclair cigars.

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47. From in or about January 2011, through in or about
December 2012, Jose Dominguez, and others at his request, continued
to use invoices with fraudulent prices to defraud the United States.

OVERT ACTS

48. Onor about August 27, 2010, Jose Dominguez sent to the
customs broker Commercial Invoice 23-2010, containing a lower than
actual sale price for the imported large cigars.

49. On or about September 9, 2010, ABC Tobacco Importer sent
a payment of approximately $40,974.28 to the customs broker for the
payment of federal excise taxes that had been calculated using
Commercial Invoice 23-2010.

50. On or about September 3, 2010, Jose Dominguez sent to the
customs broker Commercial Invoice 24-2010, containing a lower than
actual sale price for the imported large cigars.

51. Onor about September 16, 2010, ABC Tobacco Importer sent
a payment of approximately $37,475.56 to the customs broker for the
payment of federal excise taxes that had been calculated using

Commercial Invoice 24-2010.

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52. On or about September 17, 2010, Jose Dominguez sent to the
customs broker Commercial Invoice 25-2010, containing a lower than
actual sale price for the imported large cigars.

53. On or about September 27, 2010, ABC Tobacco Importer sent
a payment of approximately $64,723.45 to the customs broker for the
payment of federal excise taxes that had been calculated using
Commercial Invoice 25-2010.

54. Onor about October 1, 2010, Jose Dominguez sent to the
customs broker Commercial Invoice 26-2010, containing a lower than
actual sale price for the imported large cigars.

55. On or about October 14, 2010, ABC Tobacco Importer sent a
payment of approximately $62,552.61 to the customs broker for the
payment of federal excise taxes that had been calculated using
Commercial Invoice 26-2010.

56. On or about October 15, 2010, Jose Dominguez sent to the
customs broker Commercial Invoice 27-2010, containing a lower than
actual sale price for the imported large cigars.

57. On or about October 28, 2010, ABC Tobacco Importer sent a

payment of approximately $37,681.35 to the customs broker for the

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payment of federal excise taxes that had been calculated using
Commercial Invoice 27-2010.

58. On or about October 22, 2010, Jose Dominguez sent to the
customs broker Commercial Invoice 28-2010, containing a lower than
actual sale price for the imported large cigars.

59. On or about November 2, 2010, ABC Tobacco Importer sent
a payment of approximately $44,754.94 to the customs broker for the
payment of federal excise taxes that had been calculated using
Commercial Invoice 28-2010.

60. On or about October 29, 2010, Jose Dominguez sent to the
customs broker Commercial Invoice 29-2010, containing a lower than
actual sale price for the imported large cigars.

61. On or about November 10, 2010, ABC Tobacco Importer sent
a payment of approximately $59,698.37 to the customs broker for the
payment of federal excise taxes that had been calculated using
Commercial Invoice 29-2010.

62. On or about November 5, 2010, Jose Dominguez sent to the
customs broker Commercial Invoice 30-2010, containing a lower than

actual sale price for the imported large cigars.

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63. Onor about November 18, 2010, ABC Tobacco Importer sent
a payment of approximately $26,379.76 to the customs broker for the
payment of federal excise taxes that had been calculated using
Commercial Invoice 30-2010.

64. Onor about November 12, 2010, Jose Dominguez sent to the
customs broker Commercial Invoice 31-2010, containing a lower than
actual sale price for the imported large cigars.

65. Onor about November 26, 2010, ABC Tobacco Importer sent
a payment of approximately $46,597.60 to the customs broker for the
payment of federal excise taxes that had been calculated using
Commercial Invoice 31-2010.

66. Onor about November 19, 2010, Jose Dominguez sent to the
customs broker Commercial Invoice 32-2010, containing a lower than
actual sale price for the imported large cigars.

67. Onor about December 2, 2010, ABC Tobacco Importer sent a
payment of approximately $58,310.74 to the customs broker for the
payment of federal excise taxes that had been calculated using

Commercial Invoice 32-2010.

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68. Onor about November 26, 2010, Jose Dominguez sent to the
customs broker Commercial Invoice 33-2010, containing a lower than
actual sale price for the imported large cigars.

69. Onor about December 6, 2010, ABC Tobacco Importer sent a
payment of approximately $43,664.41 to the customs broker for the
payment of federal excise taxes that had been calculated using
Commercial Invoice 33-2010.

70. Onor about December 8, 2010, Jose Dominguez sent to the
customs broker Commercial Invoice 34-2010, containing a lower than
actual sale price for the imported large cigars.

71. On or about December 15, 2010, ABC Tobacco Importer sent
a payment of approximately $32,128.45 to the customs broker for the
payment of federal excise taxes that had been calculated using
Commercial Invoice 34-2010.

72. Onor about December 10, 2010, Jose Dominguez sent to the
customs broker Commercial Invoice 35-2010, containing a lower than
actual sale price for the imported large cigars.

73. Onor about December 24, 2010, ABC Tobacco Importer sent

a payment of approximately $37,594.23 to the customs broker for the

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payment of federal excise taxes that had been calculated using
Commercial Invoice 35-2010.

74. Onor about December 17, 2010, Jose Dominguez sent to the
customs broker Commercial Invoice 36-2010, containing a lower than
actual sale price for the imported large cigars.

75. Onor about December 30, 2010, ABC Tobacco Importer sent
a payment of approximately $36,756.33 to the customs broker for the
payment of federal excise taxes that had been calculated using
Commercial Invoice 36-2010.

76. On or about December 23, 2010, Jose Dominguez sent to the
customs broker Commercial Invoice 37-2010, containing a lower than
actual sale price for the imported large cigars.

77. In or about January 2011, ABC Tobacco Importer sent a
payment of approximately $49,293.60 to the customs broker for the
payment of federal excise taxes that had been calculated using
Commercial Invoice 37-2010.

78. On or about October 22, 2012, Jose Dominguez and someone
acting on his behalf, shipped large cigars designated for Retail

Customer 1. Importer H.S., with the assistance of ABC Distributor and

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the fraudulent invoices prepared by Jose Dominguez and someone
acting on his behalf, collected, but did not pay to the United States the
full amount of excise taxes.

79. Onor about November 8, 2012, Jose Dominguez and
someone acting on his behalf, shipped large cigars designated for Retail
Customer 1. Importer H.S., with the assistance of ABC Distributor and
the fraudulent invoices prepared by Jose Dominguez and someone
acting on his behalf, collected, but did not pay to the United States the
full amount of excise taxes collected on this shipment.

80. Onor about December 10, 2012, Jose Dominguez and
someone acting on his behalf, shipped large cigars designated for Retail
Customer 1. Importer H.S., with the assistance of ABC Distributor and
the fraudulent invoices prepared by Jose Dominguez and someone
acting on his behalf, collected, but did not pay to the United States the
full amount of excise taxes collected on this shipment.

All in violation of Title 18, United States Code, Section 371.

A TRUE BILL

 
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DATE: 6/24 /) )

 

BRUCE D. BRANDLER
UNITED STATES ATTORNEY

 

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